                             UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF NORTH CAROLINA
                                   WILMINGTON DIVISION

IN RE:

JOSEPH BUTRICO                                            Case No. 18-05727-5-SWH
NICOLE BUTRICO                                            Chapter: 13
106 Holly Tree Ln
Hampstead, NC 28443
SSN: xxx-xx-3473
SSN: xxx-xx-6108

              Debtor(s).

                           MOTION FOR RELIEF FROM AUTOMATIC STAY
                                    (Re: 2017 Jeep Wrangler)



         COMES NOW Navy Federal Credit Union ("NFCU"), by and through counsel, and in

support of its Motion for Relief from Automatic Stay, would state and show unto the Court as

follows:

         1.        On September 21, 2017, Joseph Butrico (“Debtor”) entered into a Promissory Note,

Security Agreement and Disclosure (“Contract”) with NFCU regarding the purchase and financing of

a 2017 Jeep Wrangler, VIN 1C4BJWDG8HL725615 (“Vehicle”). A true and correct copy of said

Contract is attached hereto and incorporated by reference.

         2.        NFCU holds a validly perfected, first priority purchase-money security interest in the

Vehicle, as noted on the Certificate of Title issued by the State of North Carolina. A true and correct

copy of the Certificate of Title is attached hereto and incorporated by reference.

         3.        On November 28, 2018 (“Petition Date”), the Debtor commenced this bankruptcy

case by filing a voluntary petition for relief under Chapter 13 of the Bankruptcy Code.

         4.        The Debtor’s confirmed Chapter 13 Plan provides that NFCU’s secured claim is to be

paid directly by the Debtor outside the Plan.

         5.        NFCU seeks relief from the automatic stay on grounds of the Debtor’s payment

defaults under the Contract. The Debtor is in payment default under the Contract in the amount of
$1,592.81 (representing $393.98 of the April 9, 2019 monthly payment and the full May 9, 2019

through July 9, 2019 monthly payments of $399.61 each). NFCU last received a payment on July 12,

2019 in the amount of $400.00, which payment was applied to satisfy the monthly payment due on

March 9, 2019.

       6.        The payoff amount due under the Contract is $27,621.04.

       7.        The NADA clean retail value of the Vehicle, assuming average mileage, is

$27,900.00.

       8.        Pursuant to 11 U.S.C. § 362(d)(1), sufficient cause exists, including lack of adequate

protection, for termination of the automatic stay as to NFCU, the Vehicle and the proceeds thereof.

       9.        Pursuant to 11 U.S.C. § 362(d)(2), sufficient cause exists, including lack of equity

and the Vehicle not being necessary to an effective reorganization, for termination of the automatic

stay as to NFCU, the Vehicle and the proceeds thereof.

       WHEREFORE, the above premises considered, NFCU prays that:

      1.         NFCU be granted immediate relief from the automatic stay provisions of 11 U.S.C. §

362 in order that it may proceed with any and all remedies available under state and/or federal law

that are not inconsistent with Title 11 of the United States Code, including but not limited to taking

immediate possession of and liquidating the Vehicle.

       2.        NFCU be granted such other and further relief to which it may be entitled.

                                                Respectfully submitted,

                                                /s/ Jacob Zweig                      _________
                                                Jacob Zweig (NC State Bar No. 38641)
                                                Attorney for Navy Federal Credit Union
                                                Evans Petree PC
                                                1715 Aaron Brenner Drive, Suite 800
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                                    UNITED STATES BANKRUPTCY COURT
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           Debtor(s).

                         NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY



         Navy Federal Credit Union (“NFCU”) has filed papers with the Court seeking relief from the automatic stay.

         Your rights may be affected. You should read these papers carefully and discuss them with your attorney, if you
have one in this bankruptcy case. (If you do not have an attorney, you may wish to consult one.)

          If you do not want the Court to grant the relief sought in the motion, or if you want the Court to consider your
views on the motion, then on or before August 22, 2019, unless otherwise ordered, you or your attorney must file with the
Court, pursuant to Local Rule 9013-1 and 9014-1, a written response, an answer explaining your position, and a request
for hearing at:

         U.S. Bankruptcy Court, P.O. Box 791, Raleigh, NC 27601

         If you mail your response and request for hearing to the Court for filing, you must mail it early enough so the
Court will receive it on or before the date stated above.

         You must also send a copy to:

         Jacob Zweig                                              Joseph A. Bledsoe, III
         Evans Petree PC                                          Chapter 13 Trustee
         1715 Aaron Brenner Drive, Suite 800                      P.O. Box 1618
         Memphis, TN 38120                                        New Bern, NC 28563


        If a response and request for hearing is filed in writing on or before the date set above, a hearing will be
conducted on the motion and response at a date, time and place to be later set and all parties will be notified accordingly.

         If you or your attorney do not take these steps, the Court may decide that you do not oppose the relief sought in
the motion and may enter an order granting that relief.

DATE: July 29, 2019                                      /s/ Jacob Zweig______________________________________
                                                         Jacob Zweig (NC State Bar No. 38641)
                                                         Evans Petree PC
                                                         1715 Aaron Brenner Drive, Suite 800
                                                         Memphis, TN 38120
                                     UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF NORTH CAROLINA
                                           WILMINGTON DIVISION

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                                              CERTIFICATE OF SERVICE


         I, Jacob Zweig, of the law firm of Evans Petree PC, certify:
         That I am, and at all times hereinafter mentioned was, more than eighteen (18) years of age.
         That on July 29, 2019, I electronically filed the foregoing Motion, with Exhibits and Notice of Motion, with the
Clerk of the Court using the CM/ECF system which will send notification of such filing to the parties listed below. I
further certify that I have mailed the document to the non CM/ECF participants as set out below by first class mail.
         I certify under penalty of perjury that the foregoing is true and correct.

         DATE: July 29, 2019                              /s/Jacob Zweig____________________________________
                                                          Jacob Zweig (NC State Bar No. 38641)
                                                          Evans Petree PC
                                                          1715 Aaron Brenner Drive, Suite 800
                                                          Memphis, TN 38120

RECIPIENTS:

Joseph Butrico & Nicole Butrico (U.S. Mail)
106 Holly Tree Ln
Hampstead, NC 28443

Christopher T. Vonderau (CM/ECF)
Debtors’ Attorney
4022 Shipyard Blvd.
Wilmington, NC 28403

Joseph A. Bledsoe, III (CM/ECF)
Chapter 13 Trustee
P.O. Box 1618
New Bern, NC 28563
